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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON
                                   Electronically Filed

TERESA K. JOHNSON                                  )
           Plaintiff,                              )
                                                   )
v.                                                 )
                                                   )
HIGHMARK HEALTH, INC.,                             )     Civil Action No: _______________
LAKE CUMBERLAND REGIONAL                           )
HOSPITAL, LLC, and                                 )
DR. JOHN C. MOBLEY                                 )
            Defendants.                            )



                                     NOTICE OF REMOVAL



                Defendant, Highmark Health, Inc. (“Highmark”), by counsel, hereby gives notice

of its removal of the above-captioned civil action now pending in the Pulaski Circuit Court in the

Commonwealth of Kentucky, as Civil Action No. 19-CI-01095, pursuant to 28 U.S.C. §§ 1441

and 1446.    Defendant Highmark states the following in support of removal of the above-

captioned civil action:

                1.   On or about November 12, 2019, Plaintiff Teresa K. Johnson (“Johnson”),

served her Complaint commencing the above-captioned proceedings in the Pulaski Circuit Court

(Civil Action No. 19-CI-01095) on Highmark. Attached hereto as Exhibit A are true and legible

attested copies of the Summons and Complaint served upon the Kentucky Office of the Secretary

of State, the statutory agent for service.
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                 2.    No further proceedings have taken place since the date of service of the

Summons and Complaint. A true and attested copy of the docket sheet is attached hereto as

Exhibit B.

                 3.      This is a civil action over which the Court has original jurisdiction under

the provisions of 28 U.S.C. § 1331 and may be removed to this Court by Defendant pursuant to

the provisions of 28 U.S.C. § 1441 because it is a case involving federal question jurisdiction.

                 4.      As of the date of this Notice of Removal, Defendants Lake Cumberland

Regional Hospital, LLC (“Lake Cumberland”) and Dr. John C. Mobley (“Dr. Mobley”) have

been served. Lake Cumberland and Dr. Mobley, by their respective counsel, consent to this

removal as evidenced by the consents attached hereto as Exhibit C and Exhibit D.1

                 5.    Johnson’s Complaint is predicated on the alleged denial of health benefits

under an employer-sponsored health plan (“the Plan”). (Compl. at ¶¶ 2, 6-10, 14, 17, 21-22;

Compl. at Exs. A, B). The Plan is sponsored by Johnson’s employer, LHC Group. Highmark

serves as Claims Administrator for the Plan.

                 6.      Johnson’s claims implicate a written Plan. The Plan from which Johnson's

claim for benefits is derived constitutes an employee welfare benefit plan for the purposes of the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001, et seq.

Johnson's Complaint seeks recovery of benefits she believes to be rightly due under the terms

and conditions of this ERISA qualified plan.

                 6.      Johnson’s causes of action based on the denial of benefits under the Plan are

completely preempted by ERISA under the terms of 29 U.S.C. § 1144(a) because they are utilized


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  Johnson’s claims against Lake Cumberland and Dr. Mobley are related to Johnson’s claims against Highmark such
that they form a part of the same case or controversy under Article III of the United States Constitution.
Consequently, this Court has supplemental jurisdiction over Johnson’s claims against Lake Cumberland and Dr.
Mobley pursuant to 28 U.S.C. § 1367(a).

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to pursue benefits under an ERISA plan and to duplicate, supplement or supplant the civil

enforcement mechanism provided by 29 U.S.C. § 1132(a). See Aetna Health Inc. v. Davila, 542

U.S. 200, 209 (2004) (“Therefore, any state-law cause of action that duplicates, supplements, or

supplants the ERISA civil enforcement remedy conflicts with the clear congressional intent to make

the ERISA remedy exclusive and is therefore pre-empted.”). A claim is completely preempted when

it satisfies both prongs of the following test: (1) the plaintiff complains about the denial of benefits

to which he is entitled only because of the terms of an ERISA-regulated employee benefit plan; and

(2) the plaintiff does not allege the violation of any legal duty (state or federal) independent of

ERISA or the plan terms. Gardner v. Heartland Indus. Partners, LP, 715 F.3d 609, 613 (6th Cir.

2013) (quoting Davila, 542 U.S. at 210)).

                7.     Within the Sixth Circuit, to determine whether a claim satisfies the first

prong of the Davila test, courts looks beyond the “label placed on a state law claim” and instead ask

“whether in essence such a claim is for the recovery of an ERISA benefit plan.” Hogan v.

Jacobson, 823 F.3d 872, 880 (6th Cir. 2016) (quoting Peters v. Lincoln Elec. Co., 285 F.3d 456,

469 (6th Cir. 2002)). A claim “likely falls within the scope of § 1132 when the only action

complained of is a refusal to provide benefits under an ERISA plan and the only relationship

between the plaintiff and defendant is based on the plan.” Hogan, 823 F.3d at 881 (quoting Davila,

542 U.S. at 211)); see also, Milby v. MCMC LLC, 844 F.3d 605 (6th Cir. 2016) (“Milby’s claim in

this case arises from the denial of benefits from an ERISA plan and satisfies the first prong of the

Davila test for complete preemption.).

                8.   Within the Sixth Circuit, to determine whether a claim satisfies the second

prong of the Davila test, courts consider “whether the plaintiff alleges the violation of an

independent legal duty.” Milby, 844 F.3d at 611 (citing Davila). A state-law claim is independent



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of ERISA when the duty was “not derived from, or conditioned upon, the terms of” the plan and

there is no “need[ ] to interpret the plan to determine whether that duty exists.” Gardner, 715 F.3d at

614. In this case, the Court must interpret the Plan to determine whether a duty to pay Plaintiff’s

claims exists. Only the terms of the Plan will determine whether Plaintiff’s claims are subject to

payment by the Plan. Accordingly, no duty independent of the ERISA plan exists. “Regardless of

how it is styled . . . ‘a suit by a beneficiary to recover benefits from a covered plan ... falls directly

under § 502(a)(1)(B) of ERISA, which provides an exclusive federal cause of action for resolution

of such disputes.’” Brigolin v. Blue Cross Blue Shield of Michigan, 516 Fed.Appx. 532, 540

(quoting Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 62–63, 107 S.Ct. 1542, 95 L.Ed.2d 55 (1987));

see also, Hackney v. AllMed Healthcare Management Inc., 679 F.Sppx. 454 (6th Cir. 2017).

               9.     Johnson, as a participant in the employer-sponsored health Plan, is pursuing

a claim under § 1132(a) of ERISA. As her claim involves recovery of benefits allegedly due

under an ERISA Plan, her claim falls within the scope of § 1132(a). See Complaint at ¶¶ 14, 16,

18, 23, 30; Ad Damnum Clause ¶ 1. Finally, no independent legal duty exists because the Court

will not be able to resolve this matter without interpretation and referral to the terms and

conditions of the Plan.

                10. The fundamental underlying issue in this case involves the interpretation of

the terms of an ERISA plan. Therefore, based on the Sixth Circuit's test for determining the scope

of ERISA preemption, Johnson's action to recover benefits allegedly due under the Plan is

completely preempted. Cases such as this that are within the scope of ERISA’s civil enforcement

mechanism and completely preempted by ERISA's broad preemptive powers are properly

removable to federal court. See Davila, 542 U.S. at 209.




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               11.   Based on the foregoing, this action is removable to this Court pursuant to 28

U.S.C. § 1441, as Johnson’s claims involve a federal question pursuant to 28 U.S.C. § 1331.

               12.   The United States District Court for the Eastern District of Kentucky,

Southern Division at London embraces Pulaski County and the Pulaski Circuit Court where this

action was pending prior to removal. 28 U.S.C. § 1441(a); 28 U.S.C. § 97(a); LR 3.1(a)(3)(A).

Thus, this Court is the District Court of the United States for the district and division embracing

the place where this action is currently pending.

               13.   This Notice of Removal is filed within thirty (30) days after service of the

initial pleading setting forth the claim for relief upon which this action is based. Therefore, this

Notice is timely filed pursuant to 28 U.S.C. § 1446(b).

               14.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be

promptly filed with the Pulaski Circuit Court of the Commonwealth of Kentucky, along with a

Notice of Filing of Notice of Removal, a copy of which is attached hereto as Exhibit E.

               15.   A copy of this Notice of Removal, with exhibits, has been served upon the

Plaintiff’s counsel pursuant to 28 U.S.C. § 1446(d).

               16.   Based on the foregoing, Highmark files this Notice of Removal so that the

entire state-court action, Civil Action No. 19-CI-01095 currently pending before the Pulaski

Circuit Court of the Commonwealth of Kentucky, shall be removed to this Court for all further

proceedings.




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                                         Respectfully submitted,


                                         /s/ Michael G. Erena
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                                         (Pro Hac Vice to be submitted)

                                         Counsel for Defendant,
                                         Highmark Health, Inc.




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                              CERTIFICATE OF SERVICE

              I hereby certify that on December 9, 2019, a true and correct copy of the

foregoing has been served by First-Class, U.S. Mail, postage pre-paid, and by electronic mail,

upon the following:

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                                                  /s/ Michael G. Erena
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                                                  Highmark Health, Inc.
